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                         UNITED STATES DISTRICT CO URT
                         SO UTHERN DISTRICT O F FLO RIDA
                          Case No.17-23099-CIV-W ILLIAM S

 HECTOR GENARO LEW ,

       Plaintiff,



 UNITED STATES OF AM ERICA,

       Defendant.
                           /

                                        O RDER

       THIS M ATTER is before the Courton Magistrate Judge Patrick A.W hite's repod

 and recom mendations (DE 4)(d1Repod'')regarding Plaintiff'smotiontovacate pursuantto
 28U.S.C.j2255 (DE 1).Uponan independentreview ofthe Repod,Plaintiff'sobjections
 (DE 5),the record,and applicable case Iaw,itisORDERED AND ADJUDGED that:
       The conclusionsin the Repod (DE 4)are AFFIRMED AND ADOPTED.
    2. This action is DISM ISSED AS TIM E-BA RRED.

    3. No cedificate ofappealability shallissue.

    4. AIIpending m otions are DENIED AS M OOT.

    5. The Clerk is directed to CLOSE this case.

       DO NE A ND OR DERED in Cham bers in M iam i,Florida,this     ay ofM ay,2018.


                                                KATHLE   M .W ILLIAM S
                                                UNITED S ATES DISTRICT JUDG E
       HectorGenaro Levy
       06296-104
       D .R ay Jam es CorrectionalInstitution
       Inm ate M ail/parcels,P.O.Box 2000
       Folkston,GA 31537
